     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 1 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                   Page 1

1                        UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA PENSACOLA DIVISION
2
                            CASE NO.:    3:21-cv-1066
3
          STATE OF FLORIDA,
4
                              Plaintiff,
5
          VS.
6
          THE UNITED STATES OF AMERICA,
7         et al.,
8                              Defendants.
          _________________________________/
9
10
11
12
13        REMOTE DEPOSITION OF:             TONY LLOYD
                                             CORPORATE REPRESENTATIVE
14                                          OF FLORIDA'S DEPARTMENT OF
                                             CHILDREN AND FAMILIES
15                                           PURSUANT TO RULE 30 (b)(6)
16        ON BEHALF OF:                     Defendants
17        DATE:                             July 26, 2022
18        TIME:                             10:19 a.m. to 12:47 p.m.
19        LOCATION OF WITNESS:              Tallahassee, Florida
20
21
22
23
          _____________________________________________________
24
                                   REPORTED BY:
25        MICHELLE SMITH, RDR, FPR, LCR, CCR, CLR, CLVS, CDVS
          Job No. CS5337171

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 2 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 25

1         of Economic Self-Sufficiency annually?

2                    A.   Somewhere over five million.

3                    Q.   And are noncitizens eligible for those

4         services?

5                    A.   No.   I believe only Emergency Medicaid

6         for Aliens is the only exception to that, I

7         believe.

8                    Q.   And what is that?        Do you want time to

9         review the responses?

10                   A.   Yeah, if I could have a minute, I would

11        appreciate that.

12                   Q.   Sure, take your time.

13                        MS. BRODEEN:     Excuse me, Erin, this is

14                   really a topic for Patti, who has already

15                   been deposed, the ESS services themselves.

16                        MS. RYAN:     He is designated for talking

17                   about the services provided by the

18                   department.      We're not going to go into too

19                   much detail, but I think because this is his

20                   topic to come and talk through, and he

21                   verified these responses for this

22                   interrogatory talking about the harm from the

23                   program, so I do think it's valid to ask him

24                   a bit about the program itself.

25                        THE WITNESS:     Okay.     So what was your

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 3 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 26

1                   question?

2         BY MS. RYAN:

3                   Q.   Okay.     So you mentioned Emergency

4         Medicaid being the only service that noncitizens

5         would be eligible for?

6                   A.   Yes.

7                   Q.   Can I ask what you're looking at?

8                   A.   I'm trying to find the details I got from

9         Patti on this.        Because it's a very small slither of

10        folks and I just don't know the numbers off of the

11        top of my head.

12                  Q.   That's okay, you don't need the numbers,

13        we can talk more general, and that's fine.             What is

14        Emergency Medicaid?

15                  A.   My understanding of Emergency Medicaid is

16        if -- and it would be it's basically that the

17        emergency takes precedent over the fact that they're

18        not documented, so that you make those services

19        available.     Somebody that has been in a car wreck or

20        something like that where you need to be able to

21        provide service to these folks, you provide the

22        service and figure out the documentation later,

23        that's my general understanding.          So again, in terms

24        of total folks that actually get provided those

25        services outside of the norm, it's a really, really

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 4 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 29

1                          MS. RYAN:    I disagree, this is a service

2                   provided, and so it would be topic number

3                   two, which asks for service offered by the

4                   department.

5                          MS. BRODEEN:    That's general, Number 7 is

6                   how the statuses of and services utilized by

7                   the above groups are determined, tracked,

8                   collected, and/or reviewed by DCF, that's

9                   specific to another person's topics, not

10                  his.

11                         MS. RYAN:    I mean, your objection is

12                  noted.     I disagree.

13                         MS. BRODEEN:    Go ahead and answer it

14                  then.

15                         THE WITNESS:    Can you repeat the

16                  question?

17        BY MS. RYAN:

18                  Q.     Are noncitizens eligible for Medicaid?

19                  A.     Not to my knowledge.

20                  Q.     So in your response to Interrogatory

21        Number 1 as to harm, the answer states ESS has

22        identified the State cost benefits provided to

23        individuals with the current system indicator, it

24        identifies that they were paroled, had no qualifying

25        immigration status, and are Cuban and Haitian

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 5 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 48

1         government provides approximately 37, 38 percent of

2         funding in those areas.        I could go through the

3         calculations, but you don't want me to.

4                   Q.   Yeah.    I feel like we would be here for a

5         while if we did.       But roughly it sounds like 37, 38

6         percent of the funding comes from the Federal

7         government?

8                   A.   Correct.

9                   Q.   Okay.    You also noted in response to the

10        interrogatories, that DCF is prohibited from

11        utilizing Federal funds for noncitizen children, but

12        not State funds?

13                  A.   Correct.

14                  Q.   What specifically prohibits the use of

15        Federal funds on noncitizen children?

16                  A.   The -- and again, you may visit the

17        actual -- the actual site reference I do not have in

18        front of me, but I know that in those two titles,

19        IV-B and IV-E, we are specifically precluded from

20        getting Federally reimbursed for noncitizens.

21                  Q.   So does that mean the department has to

22        know the immigration status of each of the children

23        that they are serving?

24                  A.   Yes.

25                  Q.   Okay.    And how is that determined?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 6 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 51

1                   A.   We provide them through -- we do them

2         through contract, so in other words we have a very

3         small staff who allocates the funds who, you know,

4         checks the finances, provides certain supports, and

5         then we contract directly with 41 certified shelters

6         throughout the State, and those -- and we provide

7         them roughly 43 million dollars through a couple of

8         grants, but mostly State GR, and they provide

9         services to their community.         Like I said, through

10        various different ways, in addition to the beds, they

11        also do counselling and other support, but yeah,

12        that's how the program works.

13                  Q.   You mentioned GR, what does that mean?

14                  A.   General revenue, sorry, State's funds.

15                  Q.   Okay.    Is there any Federal funding for

16        these domestic violence shelters?

17                  A.   There are two specific grants, the SOC

18        Grant and the VOCA Grant, it's Victims of -- sorry, I

19        can't remember all of the acronyms, but the numbers

20        on those two grants are roughly five million and four

21        million, so about 35 million of the dollars come from

22        State's general revenue.

23                  Q.   Are noncitizens eligible to get services

24        at these domestic violence centers?

25                  A.   Yeah, to my knowledge -- to my knowledge

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 7 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 52

1         we have not, the domestic violence centers have not

2         collected that information.

3                    Q.   And in response to Interrogatory Number

4         1, you provided total amount of monthly payments that

5         the department made to domestic violence centers, and

6         that the amount seems to change, why does that amount

7         change?

8                    A.   And are you asking why it changes on

9         monthly?

10                   Q.   Yes.

11                   A.   It changes because it's reimbursed on

12        actual expenditures and it also it could be -- it

13        could be several reasons, they're not very exciting,

14        but it could be that a particular shelter didn't get

15        their -- their expenditures turned in by the deadline

16        and so we paid them in the next month, so that

17        fluctuation could be based upon when that shelter

18        submitted their invoices back to the State for

19        payment.

20                   I don't think there's -- I don't think

21        there's anything else in there, it's not that it's

22        higher or lower in a particular month for a

23        particular reason other than the timing of probably

24        getting their invoices in.

25                   Q.   So it's specific to each center, each

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 8 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 67

1         change because of noncitizens that you haven't

2         already mentioned?

3                    A.   Does the Department's budget change for

4         noncitizens?

5                    Q.   Or because of noncitizens.

6                    A.   Yes.    Particularly, and I know this is

7         particularly in the two areas that we talked about

8         where we're spending a little over four million

9         dollars in the facilities, and, in the Child Welfare

10        space, we don't get Federal funding for that.             So the

11        cost of providing services to all of our clients is

12        set, and the amount of funds we have is finite, so

13        we're actually spending more State dollars to provide

14        those services than we would have if we could claim

15        on those.

16                   Q.   But these noncitizens who are using these

17        facilities or the Child Welfare services, you can't

18        say that they were applicants for admission who were

19        encountered at the Southwest border, and then

20        paroled or released pending their application;

21        correct?

22                   A.   No.    My data is about whether they are

23        noncitizens or not.

24                   Q.   Are you familiar with -- let me ask you

25        this:    Do you need a break?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 9 of 14
                                   Tony Lloyd                       July 26, 2022

                                                                  Page 70

1                   Q.   And do you know what that is?

2                   A.   Yeah, that's -- that's the system that

3         will identify documentation of citizens.            That's how

4         you identify who a noncitizen is.           That's the system

5         that does it.      We don't run that clearinghouse, it's

6         run through IRCA [phonetic].

7                   Q.   Any other impacts that this executive

8         order has on the Department of Children and

9         Families?

10                       MR. FARUQUI:     Object to form.

11                       THE WITNESS:     The second piece, which is

12                  under Section 8, we're being required to do

13                  welfare checks every six months until a child

14                  reaches the age of 18 or permanently leaves

15                  the State of Florida, that is an additional

16                  check that we are being required to do.            And

17                  so to do a welfare check on those children

18                  twice a year, we'll have a cost associated

19                  with it.

20        BY MS. RYAN:

21                  Q.   So this is every six months an in-person

22        welfare check on all children or on a specific set of

23        children?

24                  A.   The UAC children.

25                  Q.   Which are the unaccompanied minors?

                           www.CapitalReportingCompany.com
                                    202-857-3376
Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 10 of 14
Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 11 of 14
Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 12 of 14
Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 13 of 14
Case 3:21-cv-01066-TKW-ZCB Document 87-8 Filed 10/03/22 Page 14 of 14
